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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                    FT. LAUDERDALE DIVISION

                                      CASE NO.: 18-CV-61047

  UNITED STATES OF AMERICA,

                    Plaintiff,

            v.

  US STEM CELL CLINIC, LLC, a Florida
  limited liability company,
  US STEM CELL, INC., a Florida profit
  corporation, and
  KRISTIN C. COMELLA and
  THEODORE GRADEL, individuals,

                    Defendants.

  DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION IN LIMINE TO EXCLUDE
          TESTIMONY OF ANECDOTAL SAFETY AND/OR EFFICACY
           Defendants US Stem Cell Clinic, LLC (“USSCC”), US Stem Cell, Inc., and individual

 Kristin C. Comella (collectively, “Defendants”) hereby oppose Plaintiff’s motion in limine to

 exclude anecdotal testimony from Defendants’ witnesses regarding the safety and/or efficacy of

 the Defendants’ SVF Surgical Procedure at issue in this action.

    I.           PLAINTIFF’S MOTION IN LIMINE SEEKS TO IMPROPERLY USURP THIS
                 COURT’S DISCRETION TO WEIGH ALL RELEVANT EVIDENCE

           Plaintiff asks this Court to exclude certain testimony regarding the safety and efficacy of

 the surgical procedure at issue here. Specifically, Plaintiff argues that this testimony should be

 excluded because any probative value presented “is substantially outweighed by danger of unfair

 prejudice, confusing the issues, [or] misleading the jury.” Chavez v. Arancedo, No. 17-20003-Civ-

 TORRES, 2018 WL 4627302 (S.D. Fla. Sept. 26, 2018) (citing Fed. R. Evid. 403) (emphasis

 added).
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           This argument is wholly unavailing as this is a bench trial—not a jury trial. Thus, any

 concerns of unfair prejudice, confusion of the issues, and misleading the jury are not present.

 Indeed, exclusion of evidence on the basis of “unfair prejudice,” as Plaintiff seeks here, is

 considered a “useless procedure” in a bench trial proceeding. See Gulf States Utils. Co. v. Ecodyne

 Corp., 635 F.2d 517, 519 (5th Cir.1981). 1 As the court in Gulf States recognized, “in a bench trial,

 the . . . judge can also exclude those improper inferences from his mind in reaching a decision.”

 Id. The Eleventh Circuit has deemed exclusion of evidence on the basis of “unfair prejudice”

 inapplicable to bench trials. See also U.S. v. Vigne, 571 F. App’x 932 at n.2 (11th Cir. 2014)

 (“[Rule 403 balancing] has ‘no logical application to bench trials.’”); Health First, Inc. v. Hynes,

 628 F. App’x 723, 724 (11th Cir. 2016) (“[W]e assume that, in a bench trial, the trial judge can

 exclude improper inferences from his mind in reaching a decision.” (internal quotations omitted)).

           This Court is more than capable of assessing all relevant evidence and determining what

 evidence to consider and what evidence to reject. It is not Plaintiff’s role to limit what this Court

 considers. Accordingly, Plaintiff’s motion in limine should be denied.

     II.      PLAINTIFF HAS PLACED ANECDOTAL EVIDENCE OF SAFETY AND
              EFFICACY AT THE CENTER OF THIS CASE AND SHOULD NOT BE ABLE
              TO HAMSTRING DEFENDANTS’ ABILITY TO REBUT THAT EVIDENCE

           Moreover, Plaintiff’s attempt to paint as irrelevant anecdotal evidence regarding the safety

 and efficacy of the SVF Surgical Procedure is unavailing. Indeed, at every opportunity, Plaintiff

 has taken it upon itself to bring the Court’s attention to various isolated, anecdotal adverse events

 that have allegedly occurred due to Defendants’ procedures. For example, in its Complaint,

 Plaintiff discusses alleged “adverse events,” describing three patients who experienced problems



 1
  In Bonner v. City of Prichard, 661 F.2d 1206 (11th Cir. 1981) (en banc), the 11th Circuit adopted
 as binding precedent all of the decisions of the former Fifth Circuit handed down before the close
 of business on September 30, 1981.
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 after receiving the Defendants’ surgical procedure. Again, in Plaintiff’s Motion for Summary

 Judgment, Plaintiff discusses various isolated, anecdotal “adverse events,” expending an entire

 section of its memorandum in support of its motion—titled “Adverse Medical Events”—to

 reiterate the events outlined in its Complaint. Dkt. No. 42 at 10. Then, in yet a third instance, in

 Plaintiff’s Opposition to Defendants’ Motion for Summary Judgment, Plaintiff again discusses

 isolated, anecdotal “adverse events,” stating that “Defendants’ product has, indeed, been

 associated with serious adverse events such as blindness and vision impairment.” Dkt. No. 49 at

 1. Just two weeks ago, in its Statement of the Case included as part of the parties’ Joint Pretrial

 Stipulation, Plaintiff alleged that Defendants’ SVF Surgical Procedure leads to “devastating

 outcomes,” is associated with “serious adverse events,” and may lead to “calamities.” Dkt. No. 55

 at 2.

          If one thing is clear here, it is that Plaintiff seeks to portray the Defendants’ business

 practices as those of lawless renegades. Nothing could be further from the truth. Testimony from

 satisfied patients to rebut the incorrect characterization of Defendants’ business practices—which,

 based on its filings, appears to be part of Plaintiff’s case in chief—is certainly relevant. Therefore,

 testimony demonstrating safety or efficacy is relevant and admissible, and should not be excluded.2

                                               CONCLUSION

          Plaintiff’s concerns that this Court may confuse the issues or be misled are misplaced. This

 Court has the authority to hear all evidence and make decisions regarding the weight attributable

 to each piece of evidence. Therefore, Plaintiff’s motion in limine should be denied.

     DATED: April 12, 2019                               Respectfully Submitted,

                                                /s/ Isaac J. Mitrani


 2
   If, however, this Court determines that Defendants’ anecdotal evidence of safety and efficacy
 should be excluded, this Court should exclude Plaintiff’s anecdotal evidence as well.
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 12, 2019, a true and correct copy of the foregoing
 Defendants’ Opposition to Plaintiff’s Motion in Limine to Exclude Testimony of Anecdotal Safety
 And/Or Efficacy was filed with the Clerk of the Court via CM/ECF and the CM/ECF system will
 send a notice of electronic filing to all counsel and parties of record listed on the Service List
 Below.


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